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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

GUlDEONE TAYLOR BALL )
CONSTRUCTION SERVICES, lNC.
)
Plaintiff
)
VS. CIVIL ACTION NO. 1-02-1299
)
RICKY HURT d/b/a HURT )
ORNAMENTAL IRON WORKS and
d/b/a RICKY HURT CONSTRUCTION, )
BILLY GRISWELL d/b/a BILLY
GRISWELL CONSTRUCTION )
COMPANY, and SOUTHERN
INDUSTRIAL CONTRACTORS )
Defendants )

AMENDED RULE l6(b) SCHEDULING ORDER

Pursuant to the Order of June 17J 2005, the following dates are
established as the final dates for:

INITIAL DISCLOSURES (RULE 26(2)(1): July 28, 2005
JOINING PARTIES:

For Plal`ntiff: October 7, 2005

For Defendant: November 7, 2005
AMENDING PLEADINGS:

For Plaintiff: October 7, 2005

For Defendant: November 7, 2005
COMPLETING ALL DISCOVERY:

(a) REQUESTS FOR PRODUCTION AND

INTERROGATORIES: March 7, 2006
This document entered on the docket sheet |n compliance

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(b) REQUESTS FOR ADMISSIONS: April 7, 2006
(c) EXPERT DISCLOSURE (RULE 26(a)(2):
(i) Plaintiff’s Experts: April 14, 2006
(ii) Defendant’s Experts: May l5, 2006
(iii) Supplementation under Rule 26(e): May 26, 2006
(d) DEPOSITIONS: July 7, 2006
FILING DISPOSITIVE MOTIONS: August ll, 2006
FINAL LISTS OF WITNESSES AND EXI-IIBITS (Rule 26(3)(3)):
(a) For Plaintiff: October 5, 2006
(b) For Defendant: October 20, 2006

Parties shall have ten (10) days after service of final lists of witnesses
and exhibits to file objections under Rule 26(a)(3).

The trial in this case is expected to last four to five days.
A jury trial date after November 10, 2006 will be set by the Court.
OTHER RELEVANT MATTERS:

lnterrogatories1 Requests for Production and Requests for Admissicn
must be submitted to the opposing party in sufficient time for the opposing party
to respond by the deadline for completion of discovery. For example, if the
FED.R.CIV.P. allow 30 days for a party to respond, then the discovery must be
submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or service of the response,
answer, or objection which is the subject of the motion if the default occurs within
30 days of the discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and
(a)(l)(B), all motions, except motions pursuant to FED.R.CIV.P. l2, 56, 59, and 60,
shall be accompanied by a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this
matter. Neither party may file an additional reply, however, without leave of the
court. lf a party believes that a reply is necessary, it shall file a motion for leave
to file a reply accompanied by a memorandum setting for the reasons for which a

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reply is required

At this time, the parties have not given consideration to whether they
wish to consent to trial before the magistrate judge. The parties will file a Written

consent form with the court should they decide to proceed before the magistrate
judge.

The parties are encouraged to engage in court-annexed attorney
mediation or private mediation on or before the close of discoverv.

This Order has been entered after consultation with trial counsel
pursuant to notice. Absent good cause shown, the scheduling dates set by this
Order will riot be modified or extended.

IT IS SO ORDERED.

§,Z.”'/?Mm 660

S. THOMAS ANI)ERSON
UNITED STATES MAGISTRATE JUDGE

DATE: aged /a: amf

APPROVED FOR ENTRY:

william /l’{' il,<)iw '6¢1 50<_ i../ Wsm
WILLIAM M. JEi“ER (4579i l 7,,5/05
ATToRNEY FoR PLAINTIFF

35 UNIoN AvENUE, sUiTE 300

MEMPHIS, TN 38103

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sTEPHF!N cRAIG §ENNE‘DY (0&£746)
ATToRNEY Foa DEFENDANT iLLY
GRisWELL a/b/a BILLY GRisWELL
CoNsTRUCTIoN CoMPANY

177 WEsr CoURr AVENUE

P. o. Box 647

sELMER, rN 38375

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case l:02-CV-01299 was distributed by fax, mail, or direct printing on
August 15, 2005 to the parties listed.

ESSEE

 

Stephen C. Kennedy
DEUSNER & KENNEDY
l 17 W. Court Avenue
Selmer7 TN 38375--064

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

